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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
    UNITED STATES OF AMERICA

    -vs-                                                             Case No. 6:06-cr-125-Orl-19KRS

    SHARIKA MICHELLE FLOWERS #23
    _____________________________________

                                                   ORDER

              This cause came on for consideration without oral argument on the following motion filed

    herein:

                 MOTION:        MOTION FOR BOND (Doc. No. 594)

                 FILED:      October 2, 2006
                 _______________________________________________________

                 THEREON it is ORDERED that the motion is DENIED.

              This is a motion for reconsideration of the Court’s previous decision (Doc. No. 152) ordering

    the Defendant detained. The motion does not raise any matters not considered at the original hearing.

    Under 18 U.S.C. § 3142, the criteria for reconsideration have not been met.

              DONE and ORDERED in Orlando, Florida on this 4th day of October, 2006.


                                                                   David A. Baker
                                                                 DAVID A. BAKER
                                                           UNITED STATES MAGISTRATE JUDGE
    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Probation Office
    United States Pretrial Services Office
    Counsel for Defendant
    Sharika Michelle Flowers #23
